
Reese, J.
delivered the opinion of the court.
‘There is in the lower part of the city of Nashville, a small creek or brook, with high banks, constituting a narrow ravine, which at the distance of a few hundred yards, opens into a wide plain. When the waters of the Cumberland river are high, -this ravine and the plain above are filled with eddy-water, and form a very convenient and safe inlet from the river for rafts of timber and lumber, and it has for the last forty years been 'used, whenever occasion offered, for that purpose by the public.
• Over this ravine a bridge passes; and below this bridge the plaintiffs have built a fish trap, which constituted an obstruction to the use and navigation of this inlet by the public. The *365defendant in taking his raft up this inlet removed so much of the plaintiffs’ fish trap, as to permit the unobstructed passage of his raft. For this the plaintiffs brought this action. The Corporation of Nashville had given to plaintiffs a license to construct their fish trap.
The Circuit Court charged the jury, that the continued and undisturbed use, by the public, for twenty years or more, of this inlet, would operate as a dedication of it to the public use, and constitute it a public thoroughfare for purposes of navigation, and the obstruction of its use for that purpose, would make the obstruction a public nuisance, which any one might abate. This charge, upon reason and authority, is perfectly correct,- and the verdict which was responsive to it, altogether proper.
We affirm the judgment.
